IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
CAROLYN HERZ SRIVASTAVA,

Plaintiff, CASE NO. 3110-00082

JUDGE HAYNES

BLAKEFORD AT GREEN HILLS
CORPORATION, et al.,

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v. '.\
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Defendants. l
0 R D E R
Plaintiff, Carolyn Herz Srivastava, filed this m ge action against the Defendants:
Blakeford at Green Hills Corporation, Van Cluck, Patricia Morrell, Arnold Bienstol:k, Eric Bram,
Jonathan Adland, Ora Hirsch Pescovitz, and David F. Hamilton. Plaintiff alleges that the
Defendants engaged in a pattern of racketeering that deprived Plaintiff of money and other
property.
Before the Court is Defendant Ora Hirsch Pescovitz’s motion to dismiss (D¢)cket Entry
No. 14), Defendant David F. Hamilton’s motion to dismiss (Docket Entry No. 40), and Plaintiff’s
motion for preliminary injunction (Docket Entry No. 48). Defendant Hamilton’s motion to
dismiss contends, in sum, that Plaintiff has a history of frivolous and vexatious cou:t filings and
that Defendant Hamilton is immune from suit because his alleged actions all occurred as a
District Judge for the Southern District of lndiana. Defendant Hamilton also notes ;hat
Plaintist entire complaint is conclusory and “consists Wholly of ‘impertinent’ and ‘scandalous’

matters.”

Under 28 U.S.C. 1915(e)(2)(B)(2), the Court makes an initial inquiry to assess Whether

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this action should proceed further. The pro §§ complaint can be dismissed if the complaint fails to
state a claim or is frivolous or malicious or seeks damages from a defendant who is immune from
such damages claims as a matter of law. A complaint is frivolous and warrants dismissal when
the claims “lack[] an arguable basis in law or fact.” Neitzke v. Williams, 490 U.S. 319, 325
(1989); § Apple v, Glenn, 183 F.3d 477, 479 (6th Cir. 1999). Claims lack an arguable basis in
law or fact if they contain factual allegations that are fantastic or delusional, or if they are based
on legal theories that are indisputably meritless [_d_. at 327-28; Brown v. Bargeg;, 207 F.3d 863,
866 (6th Cir. 2000); §§e_ alj Lawler v. Marshall, 898 F.2d 1196, 1198-99 (6th Cir. 1990).

Upon review of the complaint, Plaintist claims are clearly frivolous and meritless
Defendant Hamilton was the federal district court judge assigned several of Plaintiff’ s prior
lawsuits in the Southern District of lndiana. As such, because all acts about which Plaintiff
complains were judicial acts within his jurisdiction, Defendant Hamilton has absolute judicial
immunity from suit.

Additionally, to promote the interests of judicial economy, a district court rr_ay raise the
doctrine of res judicata _su_a sponte. Hollowav Construction Co. v. United States D€ Dartment of

Labor, 891 F.2d 121 l, 1212 (6th Cir. 1989). An action will be barred under res judicata where

 

(1) prior litigation involved the same parties or their privies, (2) the prior litigation was
terminated by a final judgment on the merits, and (3) the prior litigation involved the same claim
or cause of action as the present lawsuit. Hvdranautics v. Film Tec Corporation, 204 F.3d 880
(9th Cir. 2000).

The complaint here is merely a continuation of Plaintiff’ s prior actions brought in the

Southern District of Indiana that Were previously dismissed with prej udice. E Mvastava v.

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Bepko, et al., Case No. 1:04-cv-945-RLY-WTL (S.D. lnd. 2005); Srivastava v. Ma:'ion Countv
Election Board, 125 Fed. Appx. 57, 58 (7th Cir. 2005) (affirming district court injuictions
requiring screening of all future filings due to the finding that “Srivastava had ‘buil; a record of
relentlessly frivolous LM § litigation’ consisting of some 27 federal and state lawsuits....”);

Srivastava v. Bepko, et al., Case No. l:03-cv-00952-DFH-VSS (S.D. Ind. 2004).

 

Plaintiff alleges that many of the prior defendants in the various Southern District of
lndiana actions have continued their conspiracy through a vast “Syndicate” that Bla keford at
Green Hills Corporation and Van Cluck have allegedly joined. lt is clear to the Court, however,
that Plaintist claims against Defendants Patricia Morrell, Amold Bienstock, Eric Bram,
Jonathan Adland, and Ora Hirsch Pescovitz are entirely barred by § jML Finally, the
claims in the complaint not barred by §§ jLic_a_ta are delusional and consistent with PlaintifF s
past claims alleging anti-Semitic conspiracies GlM, 183 F.3d at 479; g al_sQ _D_avis v. Ruby
Foods, lnc., 269 F.3d 818, 820 (7th Cir. 2001) (“T he dismissal of a complaint on the ground that
it is unintelligible is unexceptional.”). Plaintiff’s claims against Defendants Blakef )rd at Green
Hills Corporation and Van Cluck are brought only as a pretext for Plaintiff to continue her
meritless and fantastical pattern of litigation Polyak v. Lesnansky, 890 F.2d 416, 1989 WL
143564, at *2 (6th Cir. 1989). Finally, Plaintist new claims against Defendants Blakeford at
Green Hills Corporation and Van Cluck are precluded by the doctrine of collateral estoppel.A_llQ
v McCurry, 449 U.S. 90, 94 (1980).

For the above stated reasons, Defendant Ora Hirsch Pescovitz’s motion to dismiss
(Docket Entry No. 14) is GRANTED, and Defendant David F. Hamilton’s motion ;o dismiss

(Docket Entry No. 40) is GRANTED. Plaintiff`s claims against all Defendants are

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DISMISSED With prejudice for failure to state a claim. Accordingly, Plaintiff’ s motion for
preliminary injunction (Docket Entry No. 48), Defendant Ora Hirsch Pescovitz’s rr otion for
extension of time (Docket Entry No. 57), and PlaintifF s motion for sanctions (Doc <et Entry No.
58) are DENIED as moot.

This is the Final Order in this action.

Any appeal of this action would not be in good faith as required by 28 U.S.C. §
1915(a)(3).

It is so ORDERED.

ENTEREDthiSrhe /O° day OfMay, 2010.

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